                 Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 1 of 12
                                                    U.S. Dcpartmcnt of J usticc

                                                                             Uniled Slates Allome)'
                                                                             Dislricl of. Marvland
                                                                                             .
                                                                             Norlhem Division

11arl)' AI. Gmber                     ,\Jaili/I!: Address:                   O//ice '-oeariol/:                   DIRECT.- 410.109-4835
Assis/am Vlli/ed Slales Af/om€)'      3fi S. Charles Sweet. -1111Floor       36 S. Charles So'eel . .I,ll Floor     MAl"": .110-109-4800
110 rry. Gl1Jbe'@lIStloj.gol'         (Jal1imorc. ,\to lllOI                 Balfimorc. MD2/201                      FAX: 41O.96}.]9/0




                                                                         May 31, 2019

Christian Bryan Lassiter
Assistant Federal Public Defender
Office of the Federal Public Defender for the District of Maryland
100 S. Charles Street
Tower II, 9th Floor
Baltimore, Maryland 21201

           Re:         United States v. Kristv Stock
                       Crim. No.

Dear Counsel:

        This letter, together with the Sealed Supplement, confinns the plea agreement (this
"Agreement") that has been offered to your client, Kristy Stock (hereinafter "Defendant"), by the
United States Attorney's Office for the District of Maryland ("this Office"). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by June 3, 2019, it will be deemed withdrawn. The tenns of the Agreement
are as follows:

                                                  Offense of Conviction

        I.     The Defendant agrees to waive indictment and plead guilty to a two count
infonnation, which will charge the Defendant in Count One with Interstate Transportation of
Stolen Goods, in violation of 18 U.S.C. ~ 2314, and in Count Two with Tax Fraud, in violation of
26 U.S.c. ~ 7206(1). The Defendant admits that the Defendant is, in fact, guilty of the offense
and will so advise the Court.

                                                 Elements of the Offense

       2.      The elements of the offenses to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

Count One - Interstate Transportation of Stolen Goods

           First, that goods, wares, merchandise, securities, or money were stolen, converted, or

taken by fraud;
               Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 2 of 12



           Second, that the defendant transported, transmitted. or transferred (or caused to be

transported or transmitted) the property in interstate or foreign commerce;

           Third, that at the time of the transportation or transmission, the defendant knew the

property was stolen, converted, or taken by fraud; and

           Fourth, that the value of the property was at least 55,000.




Count Two - Tax Fraud

        First, that the Defendant made, or caused to be made, and subscribed and filed an income
tax return for the year in question that was false as to a materia! matter;

           Second, that the return contained a written declaration that it was made under penalties of
perjury;

        Third, that the Defendant did not believe the return to be true and correct as to every
material matter; and

           Fourth, that the Defendant acted willfully.

                                                 Penalties

        3.      The maximum penalties provided by statute for the offenses to which the Defendant
is pleading guilty arc as follows:


                                Minimum   Maximum        Supervised          Maximum            Special
  Count            Statute
                                 Prison    Prison         Release               Fine          Assessment
      1           18 U.S.C.       N/A      10 years        3 years       $250,000 or twice       5100
                   *     2314                                              the gain or loss
                                                                          from the offense
      2          26 U.s.c.        N/A      3 years           I year           5100.000           5100
                 ~ 7206(1)

                 a.     Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

              b.      Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant



Rc\'iscd January 20 11
                Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 3 of 12



returned to custody to serve a tcnn of imprisonment as permitted by statute, followed by an
additional term of supervised release.

               c.     Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.c. SS 3663, 3663A, and 3664.

                 d.      Payment: If a fine or restinltion is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.c. S 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

               e.       Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

                f.      Collection of Debts: If the COlllt imposes a tine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (I) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Ot1iee to obtain a credit report in order to evaluate the Defendant's ability to pay,
and to request and review the Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

                                          Waiver of Rights

        4.      The Defendant understands that by entering into this Agreement, the Defendant
sun'enders certain rights as outlined below:

                a.    If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

                 b.      If the Defendant elected a jury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Rc\-iscd January 20 II
               Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 4 of 12




                c.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

               d.     The Defendant would have the right to testify in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testify.

                e.     If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court's questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

                 g.     If the Court accepts the Defendant's plea of guilty, the Defendant will be
giving up the right to tile and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

                 h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless aftirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.


Revised January 20 II
                Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 5 of 12



                               Advisorv Sentencing Guidelines Apply

        5.      The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Refoml
Act of 1984 at 18 V.S.c. S 3551-3742 (excepting 18 V.S.C. S 3553(b)(I) and 3742(e)) and 28
V.S.c. SS 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Refornl Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                            Factual and Advisory Guidelines Stipulation

        6.    This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

                 a.     As to Count One, the parties stipulate and agree that V.S.S.G. S 2B 1.1
applies to this ofTense, resulting in a base offense level of six (6). The parties further stipulate and
agree that the offense involved losses that were more than 5550,000 and less than 51.500,000,
resulting in a fourteen (14) level increase in the offense level. The parties further stipulate and
agree that pursuant to S 3B 1.3, the offense level should be increased by two (2) levels for the
Defendant's abuse of a position of trust as a school district administrator, resulting in a final
ofTense level of twenty-two (22).

                 b.      As to Count Two, the parties stipulate and agree that U.S.S.G. S 2Tl.1 and
2T4.1 apply to her offense, resulting in an offense level of eighteen (18) because the reasonably
foreseeable tax loss associated with the Dcfendant's tax offense and relevant conduct was between
5250,000 and 5550,000. This offense level is increased by two (2) levels pursuant to 2T 1.1(b)( 1)
because the defendant failed to report income exceeding $10,000 in any year from criminal
activity, resulting in an adjusted offense level of twenty (20) for Count Two.

               c.      The parties further stipulate and agree that pursuant to U.S.S.G. S 3D 1.2(d),
                                                                               s
Counts One and Two are grouped together, and that pursuant to V.S.S.G. 3D 1.3(a), the highest
offense level of the counts in the Group shall be used. In this case, this results in a combined
applicable offense level of twenty-two (22).

                 d.     This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level pursuant to U.S.S.G. S 3EI.I(a), based upon the Defendant's apparent
prompt recognition and affinnative acceptance of personal responsibility for the Defendant's
criminal conduct. This Office agrees to make a motion pursuant to U.S.S.G. S 3EI.I(b) for an
additional one-level decrease in recognition of the Defendant's acceptance of personal
responsibility for the Defendant's conduct. This Office may oppose any adjustment for acceptance
of responsibility under V.S.S.G. S 3El.I (a) and may decline to make a motion pursuant to U.S.S.G.
S 3EI.I(b), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the ofTense; (iii) gives conflicting statements about the Defendant's
involvement in the ofTense; (iv) is untruthfill with the Court, this Office, or the Vnited States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in

Reyisl'd January 20 I I
              Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 6 of 12



any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts
to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

        7.      There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's eriminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part ofa pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant's income.

         8.     Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

                                      Obligations of the Parties

        9.     At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.c. ~ 3553(a). The parties agree to provide opposing counsel
with any infonnation that will be used and/or relied upon at sentencing no less than fourteen (14)
days prior to sentencing, and agree that if this condition is not mct, the opposing party will not
oppose a continuance of sentencing. This Oftice and the Defendant reserve the right to bring to
the Court's attention all information with respect to the Defendant's background, character,
and conduct that this Oftice or the Defendant deem relevant to sentencing.

                                           Waiver of Venue

        10.     The Defendant understands that she would have a right to challenge the prosecution
of Count Two in the District of Maryland based on whether she committed such acts in Maryland
so as to give rise to venue in this District. The Defendant hereby waives any and all objections
she has or may have to venue in the District of Maryland for the tax offense set forth in Count
Two, and agrees that her tax offense should be resolved in this District.

                                          Waiver of Appeal

       II.    In exchange for the concessions made by this Otlice and the Defendant in this
Agreement, this Oftice and the Defendant waive their rights to appeal as follows:

                 a.     The Defendant knowingly waives all right, pursuant to 28 U.S.c. ~ 1291 or
any other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent that such challenges
legally can be waived.




Revised January 1011
               Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 7 of 12



                       I.       The Defendant and this Otlice knowingly and expressly waive all
rights conferred by 18 U.S.c. ~ 3742, or otherwise, to appeal whatever sentence is imposed
(including any term of imprisonment, fine, tenn of supervised release, or order of restitution) for
any reason (including the establishment of the advisory sentencing guidelines range, the
determination of the Defendant's eriminal history, the weighing of the senteneing factors, and any
constitutional challenges to the calculation and imposition of any tem1 of imprisonment, fine, order
of forfeiture, order of restitution, and term or condition of supervised release), except the
Defendant reserves the right to appeal any sentence that exceeds the statutory maximum.

                b.      The Defendant waives any and all rights under the Freedom of Infonnation
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Otlice or any investigating agency.

                                                Forfeiture

         12.    The Defendant understands that the Court will enter an Order of Forfeiture as part
of the Defendant's sentence, and that the Order of Forfeiture will include assets directly traceable
to the offense in Count One, substitute assets, and/or a money judgment equal to the value of the
property derived from, or otherwise involved in, the offense, including a sum of money equal to
the value of the proceeds of the offense, which amount is at least $800,000. If specific direct or
substitute assets are forfeited and liquidated, any net proceeds of the asset shall be applied to the
money judgment. If this case also includes a restitution order, the United States will file a petition
for restoration seeking to have net forfeiture proceeds applied to restitution. The decision as to
whether to grant that petition rests with the Attorney General or his designee, and this Office
cannot guarantee that any petition will be granted.

         13.     Specifically, but without limitation on the Government's right to forfeit all property
subject to forfeiture as permitted by law, the Defendant also agrees to forfeit to the United States
all of the Defendant's right, title, and interest in the following items that the Defendant agrees
constitute money, property, and/or assets derived from or obtained by the Defendant as a result oC
or used to facilitate the commission of. the Defendant's illegal activities:

                       a.   The proceeds of Four Corners Community Bank cashier's check number
                            065093, dated November 30, 2018, and payable to the Treasury Department
                            - Internal Revenue Service in the amount of$32,995.31.

         14.    The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure II (b)(I )(J).
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

        15.    The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the

Re"iscd January 2011
               Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 8 of 12



forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

         16.    The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third pal1y with any challenge or review or any petition for remission of forfeiture.

                                              Restitution

         17.     The Defendant agrees to the entry of a Restitution Order for the full amount of the
actual losses associated with Count One, which the parties stipulate is at least $800,000. The
Defendant agrees that, pursuant to 18 U.S.c. ~ 3663 and 3663A and ~ 3563(b)(2) and 3583(d), the
Court may order restitution of the full amount of the actual, total loss caused by the offense conduct
set forth in the factual stipulation. If restitution is not paid by the date of sentencing, the Defendant
further agrees that the Defendant will fully disclose to the probation officer and to the Court,
subject to the penalty of perjury, all infonnation, including but not limited to copies of aII relevant
bank and financial records, regarding the current location and prior disposition of all funds
obtained as a result of the criminal conduct set forth in the factual stipulation. If the Defendant
does not fulfill this provision, it will be considcred a material breach of this plea agreement, and
this Office may seek to be relieved of its obligations under this agreement.

                                 Collection of Financial Obligations

         18.     The Defendant expressly authorizes the U.S. Attorney's Office to obtain a credit
report in order to evaluate the Defendant's ability to satisfy any financial obligation imposed by
the Court. If restitution is not paid by the date of sentencing, in order to facilitate the collection of
financial obligations to be imposed in connection with this prosecution, the Defendant agrees to
disclose fully all assets in which the Defendant has any interest or over which the Defendant
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. If restitution is not paid by the date of sentencing, the Defendant will promptly submit a
completed financial statement to the United States Attorney's Office, in a form this Office
prescribes and as it directs. The Defendant promises that any financial statement and disclosures
the Defendant submits will be complete, accurate and truthful, and understands that any willful
falsehood on the financial statement will be a separate crime and may be punished under 18 U.S.c.
~ 1001 by an additional five years' incarceration and fine.

                        Defendant's Conduct Prior to Sentencing and Breach

       19.     Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. ~ 3C 1.1; will not violate any federal,

Revised January 1011
           Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 9 of 12



state, or local law; will acknowledge guilt to the probation otlicer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

         20.     If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court tinds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule II(c)(1 )(e): and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, infonnation, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule II of the Federal Rules of Criminal
Procedure. A determination that this Otlice is released trom its obligations under this Agreement
will not permit the Dcfendant to withdraw the guilty plea. The Dcfendant acknowledges that the
Defendant may not withdraw the Defendant's guilty plea-even             if madc pursuant to Rule
II (c)(1 )(C)-if the Court tinds that thc Defcndant breachcd the Agrccmcnt.

                                         COUItNot a Party

         21.     The Court is not a party to this Agreemcnt. The sentence to be imposed is within
the sale discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will detennine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to ti.lltill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                             Resi~nation

        22.    The Defendant further agrees that she will terminate her employment with the
Central Consolidated School District in Ncw Mexico no later than August 6, 2019.

                                          Entire A~reement

        23.      This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Otlice and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Otlice
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

        If the Defendant ti.dly accepts each and every term and condition of this Agreement, please
sign and havc the Dcfendant sign the original and renlrl1 it to me promptly.
              Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 10 of 12




                                                     Very truly yours.




        I have read this Agreement, including the Sealed Supplement, and earefully reviewed every
part of it with my attorney.    I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidclines Stipulation with my attorney and I do not wish to
changc any part of it. I am completely satisfied with the representation of my attorney.




  c:::>'-R.   o~. \5                                      ~~1lq"S"
                                                                 c:e-\L--
Date                                                 Kristy Stock


         I am the Defendant's attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant.         The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge. the Defendant's decision to enter
into this Agreement is an informed and voluntary one.




                                                    ~~
                                                     Christian   ryan Lassiter, Esq.




Revised January 201 I
              Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 11 of 12



                                        ATTACHI\IEl\'T     A

                                   STIPULATIOl\'     OF FACTS

         The undersigued parties stipulate and agree that if this case had proceeded to trial. this
Office would have proven the followingji/cts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this mailer proceeded to trial.

         Defendant Kristy Stock worked for the Central Consolidated School District in New
Mexico (hereinafter "School District") during at least the time period 20 I0 to 2019 as a program
supervisor. [n her job, Stock was responsible for overseeing a program to provide Apple iPods to
school children, with the intent of benefiting Native American children living in New Mexico on
tribal reservations.

        On behalf of the school district, Stock directed that federal grant monies be used to make
bulk purchase orders ofiPods, ranging from 100 - 250 units per order, two to three times each
year. The iPods were intended to be distributed to the School District's students for use in the
math and reading programs. During the time period 20 I3 to 20 IR, Stock stole, converted, and
took by fraud more than 3,000 iPods purchased by the School District and caused them to be
resold for Stock's benefit. From October 2015 to 20 IR, Stock sold the stolen iPods exclusively
to a Maryland business (hereinafter identified as Company 1), which was operated by Person # 1
and Person #2.

        Beginning in or about October 2015 and continuing through in or about October 201 R,
Stock regularly transferred stolen iPods to Company I on a monthly basis. Stock would remove
as many iPods as she wanted to sell from the School District storage location, and sent them via
the U.S. Mail from New Mexico to Person #l's residence in Berlin, Maryland, so they could be
resold by Company I. The Defendant sold the iPods for approximately 2/3 of the price that the
School District had paid, which varied by model.

        The Defendant stipulates that she knowingly and willfully tiled false tax returns for the
calendar years 2012-2017, which failed to report significant amounts of taxable income. The
Defendant admits that her tax returns for these years caused a tax loss to the United States of
5270,R21. For example, for the the 2016 tax year, the Defendant failed to report 5135,250 in
gross receipts from sales of iPods, resulting in a tax loss of 544,769. Similarly, tor the 2015 tax
year, the Defendant failed to report 5 I34,9R0 in gross receipts from sales of iPods, resulting in a
tax loss of 544,596.

         Overall, the Defendant stipulates that she received more than 5ROO,OOO
                                                                              in illegal proceeds
for selling stolen iPods that were worth more than 51,000,000.




Revised January :!Oll
            Case 1:19-cr-00309-CCB Document 6 Filed 07/16/19 Page 12 of 12




SO STIPULATED:




                                                    ber
                                                  nited States Attorney



                                            ~<;;.~L--
                                       Kristy Stock
                                       Defendant


                                     ~~
                                       Christian Bryan Lassiter. Esq.
                                       Counsel for Defendant




Revised January 20 II
